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 12   U.S. EQUAL EMPLOYMENT
      OPPORTUNITY COMMISSION
 13
 14
 15                        UNITED STATES DISTRICT COURT
 16                     SOUTHERN DISTRICT OF CALIFORNIA
 17
      U.S. EQUAL EMPLOYMENT                       )   Case No: 17CV02436 BEN (NLS)
 18                                               )
      OPPORTUNITY COMMISSION,                     )
 19                                               )   JOINT NOTICE TO
                                Plaintiff,        )   WITHDRAW MOTION TO
 20                                               )
                                                  )   APPEAR TELEPHONICALLY
 21         v.                                    )   FOR HEARING (ECF No. 12)
                                                  )
 22                                               )
      UNIVERSAL PROTECTION                        )   Date: January 18, 2018
 23                                               )
      SERVICE, LP,                                )   Time: 10:30 AM
 24                                               )   Courtoom 5A
                                Defendant(s).     )
 25                                               )
                                                  )   Hon. Roger T. Benitez
 26                                               )   U.S. District Judge
                                                  )
 27
 28




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  1   To the Honorable Roger T. Benitez:
  2
  3       Plaintiff U.S. Equal Employment Opportunity Commission (“EEOC”) and
  4   Defendant Universal Protection Services, Inc. (“Defendant”) are withdrawing their
  5   Joint Motion to Appear Telephonically at the hearing on January 18, 2018 at 10:30
  6   am. (ECF No. 12) Plaintiff EEOC counsel Connie K. Liem and Defendant’s
  7   counsel W. Brian Holladay intend to personally appear for the hearing.
  8
  9
 10
 11
                                            Respectfully Submitted,
 12
 13                                         MARTENSON, HASBROUCK & SIMON,
                                            LLP
 14
 15   Dated: January 16, 2018               S/ W. Brian Holladay
                                            W. Brian Holladay, Esq.
 16
                                            E-Mail: bholladay@martensonlaw.com
 17
 18                                         Attorney for Defendant Universal
                                            Protection Services, LP
 19
 20
                                            U.S. EQUAL EMPLOYMENT
 21
                                            OPPORTUNITY COMMISSION
 22
 23
      Dated: January 16, 2018               S/ Connie K. Liem
 24                                         Connie K. Liem, Esq.
 25                                         E-Mail: connie.liem@eeoc.goc
                                            EEOC Senior Trial Attorney
 26
 27                                         Attorney for Plaintiff EEOC
 28




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  1                        CERTIFICATE OF AUTHORIZED SIGNATURE
                                     AND ECF SERVICE
  2
  3         I am, and was at the time the herein mentioned service took place, a citizen
  4
      of the United States, over the age of eighteen (18) years. I am employed in the Legal
  5
      Unit of the Los Angeles District Office of the United States Equal Employment
  6
      Opportunity Commission. My business address is Equal Employment Opportunity
  7
      Commission, 555 W. Beech St., Suite 504, San Diego, CA. 92101.
  8
            I certify that the content of this document is acceptable to all persons required
  9
      to sign the document by obtaining authorization for the electronic signatures of all
 10
      the parties on the document. Moreover, on the date that this declaration was
 11
 12
      executed, as shown below, I served the foregoing JOINT NOTICE TO

 13   WITHDRAW MOTION TO APPEAR TELEPHONICALLY FOR HEARING via
 14   the Court’s CM/ECF electronic filing service to the following:
 15                                   W. Brian Holladay, Esq.
                               E-Mail: bholladay@martensonlaw.com
 16
                                         Karimah J. Lamar
 17                              E-Mail: klamar@cdflaborlaw.com
 18
                      Attorneys for Defendant Universal Protection Service, LP
 19
 20
 21
 22
            I declare under penalty of perjury that the foregoing is true and correct.
 23
      Executed on January 16, 2018 at San Diego, California.
 24
 25
 26                                           S/Connie K. Liem
                                              Connie K. Liem
 27
 28




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